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                IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                          Plaintiff,

      Vs.
                                                  No.   09-40031-02-SAC

MANUEL S. GARCIA,

                          Defendant.


                           MEMORANDUM AND ORDER

               This case is before the court on the defendant Manuel S. Garcia=s

motion for the modification/reduction of sentence pursuant to 18 U.S.C. §

3582(c)(2) and the recent fast-track directive. (Dk. 100). Mr. Garcia argues

that the United States Department of Justice’s new department policy on

fast-track sentencing programs comes within the terms of § 3582(c)(2) as a

policy change that results in a lower sentencing range for him. The court

summarily denies Mr. Garcia’s motion as he lacks any plausible argument for

such relief.

               Section 3582(c)(2) allows a court to modify a defendant’s

sentence of imprisonment when the defendant’s “sentencing range . . . has

subsequently been lowered by the Sentencing Commission pursuant to 28

U.S.C. § 994(o).” The court sentenced Mr. Garcia to 120 months’



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imprisonment (Dk. 66) based on a guideline range of 120 to 135 months (Dk.

64, p. 20). Under the sentencing guidelines, specifically U.S.S.G. § 5G1.1(b),

the 120-month floor on Mr. Garcia’s sentencing range was set by the ten-year

statutory minimum sentence he faced under 21 U.S.C. § 841(b)(1)(A). (Dk.

64, p. 20). Mr. Garcia does not point to any statutory change that would reduce

the ten-year mandatory minimum term of imprisonment to which he was

sentenced. Consequently, Mr. Garcia cannot argue that any change to the

guidelines here would have lowered his sentencing range or his sentence.1

See United States v. Maldonado, 2012 WL 2917869 (M.D. Fla. Jul. 17, 2012).

            IT IS THEREFORE ORDERED that the defendant's motion for the

modification/reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) and the

recent fast-track directive (Dk. 100) is denied.

            Dated this 30th day of October, 2012, Topeka, Kansas.



                        s/ Sam A. Crow
                        Sam A. Crow, U.S. District Senior Judge




1 Moreover, the new fast-track policy cited by Mr. Garcia is not applicable to
him as his prior conviction is not for felony illegal reentry, and it is not an
adjustment by the Sentencing Commission pursuant to 28 U.S.C. § 994(o) as
to trigger § 3582(c)(2) consideration. United States v. Garcia-Medina, 2012
WL 1673916 at *3-*4 (D. Kan. May 14, 2012).

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